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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                             Case No. 1:21-cv-06546

                       Plaintiff /                   The Honorable John R. Blakey
                       Counterclaim-Defendant,

         v.

 VINTAGE BRAND, LLC,

                       Defendant /
                       Counterclaim-Plaintiff.


    DEFENDANT VINTAGE BRAND, LLC’S MOTION FOR PARTIAL SUMMARY
     JUDGMENT ON ABANDONMENT OF THE UNIVERSITY’S “CHIEF” LOGO

        Pursuant to Federal Rule of Civil Procedure 56, Defendant Vintage Brand, LLC (“Vintage

Brand”) respectfully moves for entry of an order granting summary judgment on its Second

Affirmative Defense and First Counterclaim in its favor for the reasons stated in the accompanying

Memorandum of Law and Statement of Undisputed Material Facts filed pursuant to Local

Rule 56.1. There are no genuine issues of material fact and Vintage Brand is entitled to judgment

in its favor as a matter of law.

 DATED this 8th day of November, 2022.

                                        /s/ Theresa H. Wang
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